                  Case 19-11466-MFW                Doc 3265         Filed 12/06/21         Page 1 of 23




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                         )
    In re:                                                               ) Chapter 11
                                                                         )
    CENTERCITY HEALTHCARE, LLC d/b/a                                     ) Case No. 19-11466 (KG)
    HAHNEMANN UNIVERSITY HOSPITAL, et al., 1                             )
                                                                         )
                                         Debtors.                        ) (Jointly Administered)
                                                                         )
                                                                         ) Obj. Deadline: December 27, 2021 4:00 p.m.
                                                                         ) Hearing Date: Only if objection is timely filed

       TWENTY-SECOND MONTHLY FEE APPLICATION OF KLEHR HARRISON
        HARVEY BRANZBURG LLP FOR PAYMENT OF COMPENSATION AND
      REIMBURSEMENT OF EXPENSES AS SPECIAL COUNSEL TO THE DEBTORS
       FOR THE PERIOD FROM OCTOBER 1, 2021 THROUGH OCTOBER 31, 2021

    Name of Applicant:                                      Klehr Harrison Harvey Branzburg LLP
    Authorized to Provide Professional                      Debtors and Debtors-In-Possession
    Services to:
    Date of Retention:                                      nunc pro tunc to Petition Date
    Period for which compensation and
    reimbursement is sought:                                October 1, 2021 through October 31, 2021

    Amount of Compensation sought as
    actual, reasonable and necessary:                       $46,190.25
                                                            (80 % of which is $36,952.20)
    Amount of Expense Reimbursement
    sought as actual, reasonable and                        $0.00
    necessary:
    This is a(n):                                              Monthly ___ Interim ___ Final application

This is the twenty-second monthly fee application filed in this case.


1           The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
    are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
    Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617),
    SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC
    Pediatric Anesthesia Associates, L.L.C. (2326), St Chris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA,
    L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS
    V of PA, L.L.C. (5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




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 Prior Applications:

                                           Requested                  Approved
                       Period                                 Fees         Expenses         Fee
Date Filed                          Fees         Expenses
                       Covered                                [80%]        [100%]         Holdback
First Monthly          7/7/2019-    $37,054.35   $0.00        $29,643.48   $0.00       $7,410.87
Filed: 1/2/2020        7/31/2019
DI No. 1274
Second Monthly         8/1/2019-    $7,311.60    $30.00       $5,849.28    $30.00      $1,462.32
Filed: 1/2/2020        8/31/2019
DI No. 1275
Third Monthly          9/1/2019-    $32,410.35   $129.00      $25,928.28   $129.00     $6,482.07
Filed: 1/2/2020        9/30/2019
DI No. 1276
Fourth Monthly         10/1/2019-   $13,329.00   $0.00        $10,663.20   $0.00       $2,665.80
Filed: 1/2/2020        10/31/2019
DI No. 1277
Fifth Monthly          11/1/2019-   $7,672.05    $0.00        $6,137.64    $0.00       $1,534.41
Filed: 1/2/2020        11/30/2019
DI No. 1278
Sixth Monthly          12/1/2019-   $3,222.45    $0.00        $2,577.96    $0.00       $644.49
Filed 4/2/2020         2/29/2020
DI No. 1549
Seventh Monthly        4/1/2020-    $1,300.05    $0.00        $1,040.04    $0.00       $260.01
Filed 10/7/2020        4/30/2020
DI No. 1814
Eighth Monthly         8/1/2020-    $4,007.25    $65.85       $3,205.80    $65.85      $801.45
Filed 10/7/2020        8/31/2020
DI No. 1816
Ninth Monthly          9/1/2020-    $52,560.90   $0.00        $42,048.72   $0.00       $10,512.18
Filed 10/27/2020       9/30/2020
DI No. 1864
Tenth Monthly          10/1/2020-   $45,264.15   $124.68      $36,211.32   $124.68     $9,052.83
Filed 2/17/2021        10/30/2020
DI No. 2097
Eleventh Monthly       11/1/2020-   $23,475.15   $1,017.03    $18,780.12   $1,017.03   $4,695.03
Filed 2/17/2021        11/30/2020
DI No. 2098




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Twelfth Monthly       12/1/2020-    $3,877.20      $0.00     $3,101.76        $0.00      $775.44
Filed 2/17/2021       12/31/2020
DI No. 2099
Thirteenth Monthly    1/1/2021-    $20,797.20     $29.60    $16,637.76       $29.60     $4,159.44
Filed 2/22/2021       1/31/2021
DI No. 2115
Fourteenth Monthly    2/1/2021-    $12,523.95      $0.00    $10,019.16        $0.00     $2,504.79
Filed 4/12/2021       2/28/2021
DI No. 2251
Fifteenth Monthly     3/1/2021-    $10,853.55      $0.00     $8,682.84        $0.00     $2,170.71
Filed 5/4/2021        3/31/2021
DI No. 2613
Sixteenth Monthly     4/1/2021-    $35,207.10     $63.40    $28,165.68       $63.40     $7,041.42
Filed 8/4/2021        4/30/2021
DI No. 2670
Seventeenth           5/1/2021-    $24,175.80    $529.57    $19,340.64      $529.57     $4,835.16
Monthly               5/31/2021
Filed 8/4/2021
DI No. 2671
Eighteenth Monthly    6/1/2021-    $19,529.55   $6,284.78   $15,623.64    $6,284.78     $3,905.91
Filed 8/4/2021        6/30/2021
DI No. 2673
Nineteenth Monthly    7/1/2021-     $9,759.15      $0.00     $7,807.32        $0.00     $1,951.83
Filed 8/25/2021       7/31/2021
DI No. 2745
Twentieth Monthly     8/1/2021-    $31,199.85      $0.00    $24,959.88        $0.00     $6,239.97
Filed 9/30/2021       8/31/2021
DI No. 2907
Twenty-First          9/1/2021-    $19,180.35     $20.85    $15,344.28       $20.85     $3,836.07
Monthly               9/30/2021
Filed 10/28/2021
DI No. 3000




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                        TIME AND COMPENSATION BREAKDOWN
                       OCTOBER 1, 2021 THROUGH OCTOBER 31, 2021


NAME OF                                                 HOURLY         TOTAL
                               POSITION/                                            TOTAL
PROFESSIONAL                                            BILLING        HOURS
                            NUMBER OF YEARS                                      COMPENSATION
PERSON                                                   RATE          BILLED


                         Bankruptcy & Restructuring
Domenic E. Pacitti       Partner                          $700.00        39.60        $27,720.00
                         Admitted to Bar 1987
                         Bankruptcy & Restructuring
Francis M. Correll       Partner                          $600.00         3.30         $1,980.00
                         Admitted to Bar 1987
                         Bankruptcy & Restructuring
Raymond H. Lemisch       Partner                          $515.00         7.70         $3,965.50
                         Admitted to Bar 1984
                         Bankruptcy & Restructuring
Michael W. Yurkewicz     Partner                          $500.00          .70          $315.00
                         Admitted to Bar 1998
                         Litigation - Of Counsel
William J. Clements                                       $425.00        12.30         $5,227.50
                         Admitted to Bar 2000
                         Bankruptcy & Restructuring
Sally E. Veghte          Associate                        $350.00        31.60        $11,060.00
                         Admitted to Bar 2005
                         Bankruptcy & Restructuring
Melissa K. Hughes                                         $285.00         3.70         $1,054.50
                         Paralegal 1997
TOTALS                                                                   98.90        $51,322.50

BLENDED RATE                                                                            $518.93

Minus Agreed Upon
Discount (10%)                                                                        -$5,132.25

GRAND TOTAL                                                                           $46,190.25




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                      COMPENSATION BY PROJECT CATEGORY
                     OCTOBER 1, 2021 THROUGH OCTOBER 31, 2021

                                                               TOTAL
                                                                                 TOTAL
   PROJECT CATEGORY                                   TASK     HOURS
                                                                              COMPENSATION
                                                     CODES     BILLED


   Claims Administration and Objections               CL/05           57.70     $34,885.00

   Fee/Employment Applications                        FE/07            3.70      $1,054.50

   Litigation                                         LT/10           40.10     $15,383.00

   TOTAL                                                              98.90     $51,322.50

   Minus Agreed Upon Discount (10%)                                             -$5,132.25

   GRAND TOTAL                                                                 $46,190.25




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                              EXPENSE SUMMARY
                   OCTOBER 1, 2021 THROUGH OCTOBER 31, 2021


   EXPENSE CATEGORY                                         TOTAL COMPENSATION



   No reimbursements this period.                                          $0.00

   TOTAL                                                                   $0.00




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                    )
 In re:                                                             ) Chapter 11
                                                                    )
 CENTERCITY HEALTHCARE, LLC d/b/a                                   ) Case No. 19-11466 (KG)
 HAHNEMANN UNIVERSITY HOSPITAL, et al., 1                           )
                                                                    )
                                     Debtors.                       ) (Jointly Administered)
                                                                    )

      TWENTY-SECOND MONTHLY FEE APPLICATION OF KLEHR HARRISON
       HARVEY BRANZBURG LLP FOR PAYMENT OF COMPENSATION AND
     REIMBURSEMENT OF EXPENSES AS SPECIAL COUNSEL TO THE DEBTORS
      FOR THE PERIOD FROM OCTOBER 1, 2021 THROUGH OCTOBER 31, 2021

          Klehr Harrison Harvey Branzburg LLP (“Klehr Harrison”), special counsel to Center City

Healthcare, LLC d/b/a Hahnemann University Hospital and its debtor affiliates, as debtors and

debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), hereby

submits its twenty-second monthly fee application (the “Application”) for entry of an order pursuant

to section 331 of title 11 of the United States Code, 11 U.S.C. §§101 et seq, as amended (the

“Bankruptcy Code”) granting it interim compensation and reimbursement of expenses for the period

from October 1, 2021 through October 31, 2021. In support hereof, Klehr Harrison respectfully

represents as follows:




 1       The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.



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                           I.      JURISDICTION, VENUE AND STATUTORY
                                     PREDICATES FOR RELIEF SOUGHT

        1.         This Court has jurisdiction over this Application pursuant to 28 U.S.C. §1334. This is

a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A) and (B). Venue of this proceeding and this

Application is proper in this District pursuant to 28 U.S.C. §§1408 and 1409. The statutory predicate

for the relief sought herein is section 331 of the Bankruptcy Code.

                                         II.      BACKGROUND

        2.         On June 30, 2019, (the “Petition Date”), the Debtors each filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. The Debtors have continued in the management of

its businesses and operation of its properties pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code.

        3.         On July 15, 2019, the Office of the United States Trustee appointed an Official

Committee of Unsecured Creditors (the “Committee”) in these cases.

        4.         On August 13, 2019, this Court entered an Order [Docket No. 438] approving the

retention of Klehr Harrison as special counsel to the Debtors, nunc pro tunc to the Petition Date.

        5.         Klehr Harrison has continuously rendered services on behalf of the Debtors for the

period from October 1, 2021 through October 31, 2021 (the “Compensation Period”), totaling 98.90

hours of professional time.

        6.         Attached hereto as Exhibit “A” is a full and detailed statement describing the

professional services rendered by each Klehr Harrison attorney and paraprofessional during the

Compensation Period.

        7.         The total sum due to Klehr Harrison for professional services rendered on behalf of

the Debtors for the Compensation Period is $46,190.25. Klehr Harrison submits that the professional

services it rendered on behalf of the Debtors during this time were reasonable and necessary.



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        8.         Klehr Harrison also expended costs on behalf of the Debtors in the sum of $0.00 during

the Compensation period. Attached hereto as Exhibit “B” is an itemized list of expenses incurred

during the compensation period. In accordance with Local Bankruptcy Rule 2016-2(e)(iii), the line

designated “Photocopying” represents in-house copying based on a cost of $0.10 per page.

        9.         Klehr Harrison accordingly seeks allowance of the sum of $46,190.25 in fees and

$0.00 in expenses, for a total of $41,190.25.

        10.        The undersigned hereby attests that he has reviewed the requirements of Local Rule

2016-1 and this Application conforms to such requirements.

        WHEREFORE, Klehr Harrison hereby requests: (a) allowance of compensation for necessary

and valuable professional services rendered to the Debtors in the sum of $46,190.25 and

reimbursement of actual and necessary expenses incurred in the sum of $0.00 for the period from

October 1, 2021 through October 31, 2021; (b) payment in the total amount of $36,952.20 which

represents (i) 80% of the total fees billed ($36,952.20) and (ii) 100% of the expenses incurred ($0.00)

during the Application Period, as provided under the Interim Compensation Order; and (c) granting

such other relief as this Court deems just and proper.


Dated: December 6, 2021                         /s/ Domenic E. Pacitti
Wilmington, Delaware                          Domenic E. Pacitti (DE Bar No. 3989)
                                              KLEHR HARRISON HARVEY BRANZBURG LLP
                                              919 North Market Street, Suite 1000
                                              Wilmington, Delaware 19801
                                              Telephone: (302) 426-1189
                                              Facsimile: (302) 426-9193
                                              Email: dpacitti@klehr.com

                                              Special Counsel to the Debtors




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                      )
 In re:                                                               ) Chapter 11
                                                                      )
 CENTERCITY HEALTHCARE, LLC d/b/a                                     ) Case No. 19-11466 (KG)
 HAHNEMANN UNIVERSITY HOSPITAL, et al., 1                             )
                                                                      )
                                      Debtors.                        ) (Jointly Administered)
                                                                      )

                            CERTIFICATION OF DOMENIC E. PACITTI

          I, Domenic E. Pacitti, under penalty of perjury, declare as follows:

          1.       I am a partner in the firm of Klehr Harrison Harvey Branzburg LLP (“Klehr

Harrison”), Special Counsel to the Debtors and Debtors in Possession in these cases (the

“Debtors”).

          2.       I have read the foregoing Twenty-Second Monthly Fee Application of Klehr

Harrison Harvey Branzburg LLP for Allowance of Compensation and Reimbursement of Expenses

as Special Counsel to the Debtors for the Period from October 1, 2021 through October 31, 2021

and know the contents thereof. The same contents are true to the best of my knowledge, except as

to matters therein alleged to be upon information and belief, and as to those matters, I believe them

to be true. I have personally performed many of the legal services rendered by Klehr Harrison and




 1       The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




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am thoroughly familiar with all other work performed on behalf of the Debtors by the attorneys

and paraprofessionals in Klehr Harrison.

        3.         In accordance with Rule 2016(a) of the Federal Rules of Bankruptcy Procedure and

Section 504 of Title 11, United States Code, no agreement or understanding exists between Klehr

Harrison and any other person for the sharing of compensation to be received in connection with

the above-captioned cases.

        4.         I have reviewed the requirements of Local Rule 2016-2 of the United States

Bankruptcy Court for the District of Delaware, and to the best of my knowledge, information and

belief, this Application complies with Local Rule 2016-2.

        6.         Klehr Harrison did not agree to any variations from, or alternatives to, its standard

and customary billing arrangements for the proposed engagement by the Debtors pursuant to the

Application.

        7.         None of the professionals at Klehr Harrison included in the proposed engagement

by the Debtors pursuant to the Application vary their rates based on geographic location of the

bankruptcy case.

        8.         Other than an annual rate increase effective January 1 of each calendar year, during

the twelve months prior to the filing of the Debtors’ chapter 11 petitions, the billing rates of Klehr

Harrison with respect to the Debtors was not different than those sought under the Application.

The rates effective as of January 1, 2021 are the rates charged to the Debtors in the Application.




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        9.         The Application does not include time or fees related to reviewing or revising time

records or preparing, reviewing, or revising invoices.

        I declare under penalty of perjury that the foregoing is true and correct.


Executed on December 6, 2021                                 /s/ Domenic E. Pacitti
                                                        Domenic E. Pacitti (DE Bar No. 3989)




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                EXHIBIT A
                  Case 19-11466-MFW          Doc 3265      Filed 12/06/21      Page 14 of 23




                                                                                               November 3, 2021


Philadelphia Academic Health System, LLC                             Invoice #:   457063
Svetlana Attestatova                                                 Client #:     19647
1500 Market Street, 24th Floor                                       Matter #:      0019
West Tower Center Square
Philadelphia, PA 19102
________________________________________________________________________________________

For professional services through October 31, 2021:

RE: Chapter 11


PROFESSIONAL SERVICES


Claims Administration and Objections


   Date    Atty   Description                                                        Hours       Rate   Amount
10/05/21   WJC    Reviewing documents in connection with preparation for              1.80     425.00    765.00
                  drafting mediation brief pertaining to mediation of Drexel
                  claims in bankruptcy
10/06/21   WJC    Reviewing and analyzing past memorandum and research                1.60     425.00    680.00
                  pertaining to Drexel's bankruptcy claim in connection with
                  drafting mediation statement pertaining to Drexel's bankruptcy
                  claims
10/07/21   WJC    Emails from and to D. Pacitti                                        .10     425.00     42.50
10/08/21   WJC    Legal research for mediation brief in connection with mediation     1.50     425.00    637.50
                  of Drexel claims in bankruptcy
10/08/21   WJC    Drafting, reviewing and revising mediation brief in connection      1.60     425.00    680.00
                  with mediation of Drexel claims in bankruptcy
10/10/21   WJC    Email from D. Pacitti                                                .10     425.00     42.50
10/11/21   FMC    Review issues with Drexel claims and mediation                       .10     600.00     60.00
10/11/21   FMC    Review initial draft of mediation statement/review issues with        .60    600.00    360.00
                  mediation
10/11/21   DEP    Work on mediation statement re: Drexel claims                       4.00     700.00   2,800.00
10/11/21   WJC    Drafting, reviewing and revising draft mediation statement          3.80     425.00   1,615.00
10/12/21   DEP    Review documents and agreements related to Drexel claims            5.00     700.00   3,500.00
                  and issues
                  Case 19-11466-MFW          Doc 3265      Filed 12/06/21      Page 15 of 23

19647: Philadelphia Academic Health System, LLC                                                November 3, 2021
0019: Chapter 11                                                                               Invoice #: 457063



   Date    Atty   Description                                                        Hours       Rate   Amount
10/14/21   DEP    Work on mediation statement                                         7.00     700.00   4,900.00
10/19/21   DEP    Review and draft revisions to draft mediation statement             3.50     700.00   2,450.00
10/20/21   DEP    Call with J. Dinome re: mediation statement and issues               .30     700.00    210.00
10/20/21   DEP    Email call with clients re: mediation statement and issues           .10     700.00     70.00
10/20/21   DEP    Review and draft revisions to draft mediation statement             4.00     700.00   2,800.00
10/21/21   FMC    Review working 28 page draft of mediation statement                  .70     600.00    420.00
10/22/21   DEP    Work on mediation statement and review of documents and             6.00     700.00   4,200.00
                  notes
10/25/21   FMC    Review email from J. Dinome re: comments to mediation                 .40    600.00    240.00
                  statement
10/25/21   DEP    Work on mediation statement                                         5.00     700.00   3,500.00
10/26/21   FMC    Review issues with Drexel mediation                                  .20     600.00    120.00
10/26/21   DEP    Call with J. Dinome re: mediation statement and related issues       .30     700.00    210.00
10/26/21   DEP    Work on mediation statement                                         1.40     700.00    980.00
10/27/21   FMC    Prepare for call                                                     .20     600.00    120.00
10/27/21   FMC    Review draft mediation statement                                     .40     600.00    240.00
10/27/21   FMC    Conference call with D. Pacitti re: mediation statement              .20     600.00    120.00
10/27/21   FMC    Review string email with J. Freedman attorney                        .20     600.00    120.00
10/27/21   DEP    Work on mediation statement                                         2.50     700.00   1,750.00
10/27/21   DEP    Call with clients re: mediation statement and related issues         .50     700.00    350.00
10/27/21   WJC    Preparing for and attending conference call with clients, D.          .50    425.00    212.50
                  Pacitti and F. Correll regarding mediation statement and in
                  preparation for mediation with Drexel
10/27/21   WJC    Reviewing drafts of and potential edits to mediation statements     1.20     425.00    510.00
                  in connection with upcoming mediation of Drexel's bankruptcy
                  claims
10/29/21   FMC    Review issues with Drexel mediation                                  .30     600.00    180.00


                                     Task Total:                                                     $ 34,885.00

Fee/Employment Applications


   Date    Atty   Description                                                        Hours       Rate   Amount
10/25/21   MKH    Review case docket; draft and prepare CNO re Twentieth                .70    285.00    199.50
                  Monthly Fee Application of Klehr Harrison Harvey Branzburg
                  LLP as Special Counsel to the Debtors for Payment of
                  Compensation and Reimbursement of Expenses for the Period
                  from August 1, 2021 through August 31, 2021 for filing and
                  efile same with Bankruptcy Court

                                                       2
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19647: Philadelphia Academic Health System, LLC                                               November 3, 2021
0019: Chapter 11                                                                              Invoice #: 457063



   Date      Atty   Description                                                       Hours     Rate     Amount
10/25/21     MKH    Draft Twenty-First Monthly Fee Application for September           1.40   285.00      399.00
                    2021; prepare email to D. Pacitti attaching same for review
10/28/21     MKH    Revise and finalize Twenty-First Monthly Fee Application of        1.30   285.00      370.50
                    Klehr Harrison Harvey Branzburg LLP as Special Counsel to
                    the Debtors for Payment of Compensation and Reimbursement
                    of Expenses for the period September 1, 2021 to September
                    30, 2021 for filing and efile same with Bankruptcy Court
10/28/21     MKH    Update case calendar re critical dates and deadlines                .30   285.00       85.50


                                      Task Total:                                                      $ 1,054.50

Litigation


   Date      Atty   Description                                                       Hours     Rate     Amount
10/05/21     SEV    Email exchange with counsel for Siemens Health L. Zabel             .20   350.00       70.00
                    regarding deadline to respond to complaint
10/05/21     SEV    Email exchange with counsel for CareFusion J. Stoelker              .10   350.00       35.00
                    regarding analysis and spreadsheet
10/05/21     SEV    Review spreadsheet/ analysis and settlement offer from              .90   350.00      315.00
                    counsel for CareFusion and confer with S. Prill regarding same
10/06/21     SEV    Draft stipulation extending time for Beckman Coulter to             .70   350.00      245.00
                    respond to adversary complaint during settlement
                    negotiations; confer with L. Martin regarding same
10/06/21     SEV    Telephone call with R. Lemisch to discuss status of pending        1.00   350.00      350.00
                    adversary proceedings and next steps in litigation
10/06/21     RHL    Review email from Sally to counsel to NPI regarding                 .20   515.00      103.00
                    scheduling order and discovery and response from client
10/06/21     RHL    Review email from counsel for Orthopediatrics, Beckman              .50   515.00      257.50
                    Coulter and Siemans Diagnostic regarding extension of time to
                    respond to complaint and email exchange between Sally and
                    counsel for Glaxo regarding dismissal of action and Sally's
                    email to client regarding extension to respond and her email to
                    counsel for Siemans and Beckman confirming extensions
10/06/21     RHL    Review emails between Wilen, Sally and Susannah regarding           .20   515.00      103.00
                    Nuvasive and fraudulent conveyance action and further email
                    from Sally regarding her discussions with Saul on the subject
10/06/21     RHL    Review email from counsel to ACGME regarding its analysis           .10   515.00       51.50
                    and extension to respond and Sally's response
10/06/21     RHL    Speak to Sally regarding various adversaries and how to            1.00   515.00      515.00
                    proceed(1.0)
10/06/21     RHL    Review email from counsel to MeTel regarding extension to           .10   515.00       51.50
                    answer and forward to Sally

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   Date    Atty   Description                                                        Hours     Rate   Amount
10/06/21   RHL    Review email exchange between Sally, ACGME and client                .10   515.00     51.50
                  regarding settlement
10/07/21   SEV    Email exchanges with P. Hage regarding settlement                    .90   350.00    315.00
                  counteroffer in Hologic adversary proceeding; confer with S.
                  Prill
10/07/21   SEV    Telephone call with W. Mosby regarding Orthopediatrics OCB           .10   350.00     35.00
                  analysis in preference action
10/07/21   SEV    Draft stipulation extending time for Orthopediatrics to respond      .50   350.00    175.00
                  to complaint during settlement discussions
10/07/21   SEV    Draft correspondence to W. Mosby regarding settlement offer          .70   350.00    245.00
                  in Orthopediatrics and analysis of defenses
10/07/21   SEV    Review analysis of new value defense to preference action            .50   350.00    175.00
                  provided by A. Franklin counsel for KCI USA and confer with
                  S. Prill
10/07/21   RHL    Review email from Sally to client regarding KCI defense              .50   515.00    257.50
                  analysis and review analysis and then email Sally regarding
                  same and review response from client
10/07/21   RHL    Review email exchange between Sally and client regarding             .10   515.00     51.50
                  Hologic settlement process and new counteroffer
10/07/21   RHL    Review email from Sally to client regarding strategy relating to     .20   515.00    103.00
                  Orthopediatrics and her response to Orthopediatrics regarding
                  its proposed settlement and its response
10/07/21   RHL    Review email from counsel to ACGME regarding preference              .10   515.00     51.50
                  analysis and counteroffer
10/08/21   SEV    Email exchanges with R. Lemisch and M. DiSabatino                    .40   350.00    140.00
                  regarding process for dismissal of certain preference actions
10/08/21   SEV    Review and respond to correspondence from counsel for               2.20   350.00    770.00
                  various preference defendants and update status or take
                  action accordingly
10/08/21   RHL    Review and revise draft emails to Wilen and to Monique               .80   515.00    412.00
                  regarding how to handle fraudulent conveyance claims and
                  review email form Sally to Monique and Monique's response
                  and revision and then email Sally regarding same and review
                  response from John Demmy and respond
10/08/21   RHL    Review email exchange between Susannah and Sally                     .20   515.00    103.00
                  regarding settling Hologic and respond to Susannah and
                  review her response and respond
10/11/21   WJC    Emails from and to D. Pacitti and F. Correll                         .10   425.00     42.50
10/11/21   RHL    Review email from Sally to Susannah regarding Siemans and            .10   515.00     51.50
                  Met Tel(.1)
10/12/21   SEV    Email exchange with counsel for KCI A. Franklin regarding            .20   350.00     70.00
                  settlement discussions


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10/12/21   SEV    Review new value and OCB analysis from Siemens                     1.60    350.00    560.00
                  Healthcare and Siemens Medical Service; confer with S. Prill
                  regarding offer and complaint against all three Siemens
                  entities
10/12/21   RHL    Review email from counsel to Siemans Healthcare and                 .40    515.00    206.00
                  Siemans Diagnostics and defenses asserted and review email
                  from counsel for Carefusion regarding extension to respond
                  and email Sally regarding same and review Sally's response
                  and respond and review Sally's further response to defendants
                  regarding extensions to respond to the complaints
10/12/21   RHL    Review email from counsel for KCI requesting extension to           .10    515.00     51.50
                  respond to complaint
10/13/21   MWY    Address and respond to J Waxman preference issues                   .70    450.00    315.00
10/13/21   SEV    Telephone call with J. Waxman regarding Siemens Industry            .10    350.00     35.00
                  preference action
10/13/21   RHL    Review email from counsel for ACGME regarding extension to          .10    515.00     51.50
                  respond(.1)
10/13/21   RHL    Review client's analysis of Siemans Healthcare Diagnostics          .20    515.00    103.00
                  payments and respond
10/14/21   SEV    Draft stipulation extending response deadline for Siemens           .60    350.00    210.00
                  Healthcare and Siemens Medical; confer with L. Zabel
10/14/21   SEV    Email exchanges with J. Waxman and A. Miller regarding              .40    350.00    140.00
                  response deadline related to preference complaint pending
                  against Siemens Industry
10/14/21   SEV    Draft stipulation extending time for ACGME to respond to            .50    350.00    175.00
                  preference complaint
10/14/21   SEV    Telephone call and email exchange with P. Topper regarding          .30    350.00    105.00
                  ACGME preference complaint and settlement counteroffer
10/14/21   RHL    Review email from Sally to counsel for ACGME with                   .50    515.00    257.50
                  counteroffer and to extend time to respond by 30 days and
                  email from Sally to client regarding Siemans issues and emails
                  between Sally and Siemans' counsel regarding extension to
                  respond to the complaint and email from counsel to KCI
                  regarding extension and email from Sally to Carefusion
                  counsel regarding extension to respond
10/15/21   RHL    Review email from counsel to ACGME regarding extension to           .10    515.00     51.50
                  respond
10/18/21   RHL    Review email from ACGME's counsel with counter-offer                .10    515.00     51.50
10/20/21   SEV    Review MetTel preference analysis and confer with S. Prill         1.20    350.00    420.00
                  regarding defenses
10/20/21   SEV    Review and analyze counteroffers from preference defendants        1.70    350.00    595.00
                  and prepare responses



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   Date    Atty   Description                                                        Hours       Rate   Amount
10/20/21   RHL    Review email exchange between Susannah and Sally                      .10    515.00     51.50
                  regarding a counter offer to ACGME
10/21/21   SEV    Telephone call with A. Miller counsel for Siemens Industry            .20    350.00     70.00
                  regarding preference action
10/21/21   SEV    Review adversary proceedings and update tracker to reflect           2.10    350.00    735.00
                  current status; confer with S. McGuire regarding same
10/21/21   RHL    Review email from Sally regarding settling preferences with           .10    515.00     51.50
                  fraudulent conveyance counts and respond(.1)
10/22/21   SEV    Review and revise Siemens Industry stipulation in adversary           .50    350.00    175.00
                  proceeding and confer with local counsel A. Hiller
10/22/21   SEV    Review statements of accounts provided by Philadelphia Gas           1.30    350.00    455.00
                  Works and confer with S. Prill
10/25/21   SEV    Review new value and OCB analysis from preference                    2.30    350.00    805.00
                  defendants and compare with analysis from debtors' records;
                  draft correspondence to with settlement counteroffer and
                  analysis; confer with S. Prill
10/25/21   SEV    Draft notices of default in three preference actions after           1.60    350.00    560.00
                  monitoring docket
10/25/21   SEV    Telephone call with J. DiNome regarding prosecution of                .20    350.00     70.00
                  adversary proceedings
10/25/21   RHL    Review email from Sally to client regarding counter-offer for         .40    515.00    206.00
                  Orthopediatrics case as email from Sally to ACGME counsel
                  with counter-offer and response from client regarding
                  Orthopediatrics and review Sally response to Carefusion
                  settlement offer and her email to Orthopediatrics with counter-
                  offer and review response from Orthopediatrics
10/25/21   RHL    Review emails from Sally and client regarding MeTel                   .20    515.00    103.00
                  preference as well as a quick look at analysis and respond to
                  Sally
10/26/21   SEV    Review defenses and analysis presented by adversary                  2.70    350.00    945.00
                  defendants and engage in settlement discussions; confer with
                  S. Prill
10/26/21   RHL    Review Sally's email to counsel for MetTel                            .10    515.00     51.50
10/27/21   RHL    Review email from Sally regarding settlements and releases            .20    515.00    103.00
                  and respond and her email to client regarding settlement of
                  Orthopdiatrics and her email to counsel for Orthopediatrics
                  regarding settlement
10/28/21   SEV    Draft settlement agreements in preference actions and confer         1.70    350.00    595.00
                  with counsel for the defendants regarding same
10/28/21   SEV    Update status tracker and confer with Eisner Amper regarding         1.30    350.00    455.00
                  open adversary proceedings




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10/28/21   RHL    Review email exchange between counsel for Cintas and Sally         .30   515.00    154.50
                  regarding resolution and between Adeola and Sally regarding
                  settlement motion process (several emails)
10/29/21   SEV    Email exchanges with M. Higgins regarding Cintas adversary         .40   350.00    140.00
                  proceeding
10/29/21   SEV    Email exchanges with L. Zabel regarding Siemens adversary          .30   350.00    105.00
                  proceeding
10/29/21   SEV    Draft settlement agreements in adversary proceedings and          2.20   350.00    770.00
                  confer with respective defendants and counsel
10/29/21   RHL    Review emails from Dom and email to him from counsel for           .60   515.00    309.00
                  Cintas and respond to Dom and review email from Sally and
                  analysis on FedEx claim and review emails exchange between
                  Sally and counsel to Siemans regarding extending the
                  mediation selection deadlines in view of ongoing settlement
                  discussions and review email from Beckman's counsel
                  analyzing preference defenses as well as email from counsel
                  from Orthopediatrics regarding extension to answer


                                   Task Total:                                                   $ 15,383.00

                                   TOTAL PROFESSIONAL SERVICES                                   $ 51,322.50

                                   10% Discount                                                  $ -5,132.25

                                   NET PROFESSIONAL SERVICES                                     $ 46,190.25



SUMMARY OF PROFESSIONAL SERVICES

Name                                 Staff Level               Hours              Rate                 Total
Pacitti, Domenic E.                  Partner                    39.60           700.00             27,720.00
Correll, Francis M.                  Partner                     3.30           600.00              1,980.00
Lemisch, Raymond H.                  Partner                     7.70           515.00              3,965.50
Yurkewicz, Michael W.                Partner                      .70           450.00                315.00
Clements, William J.                 Of-Counsel                 12.30           425.00              5,227.50
Veghte, Sally E.                     Associate                  31.60           350.00             11,060.00
Hughes, Melissa K.                   Paralegal                   3.70           285.00              1,054.50
TOTALS                                                          98.90                            $ 51,322.50




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                                  TOTAL THIS INVOICE                                         $ 46,190.25




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                                   DISBURSEMENTS

                                                                               Amount
Description
No disbursements this month.

TOTAL DISBURSEMENTS                                                              $0.00
